                          Case 2:19-cv-07475-MWF-RAO Document 137 Filed 11/17/21 Page 1 of 4 Page ID #:5848



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                             20
                                                IN THE UNITED STATES DISTRICT COURT
                             21               FOR THE CENTRAL DISTRICT OF CALIFORNIA
                             22 GCP APPLIED TECHNOLOGIES INC., Case No.: 2:19-cv-07475-MWF-RAO
                             23 a Delaware corporation,                    [Hon. Michael W. Fitzgerald, Ctrm. 5A;
                                                                           Magistrate Judge Rozell A. Oliver]
                             24              Plaintiff,
                                                                           DECLARATION OF JEFFREY J.
                             25          v.                                LYONS IN SUPPORT OF GCP’S
                                                                           MOTIONS FOR SUMMARY
                                AVM   INDUSTRIES,
                             26 corporation,            INC., a California JUDGMENT

                             27                                            Date: January 10, 2022
                                             Defendant.                    Time: 10:00 a.m.
                             28                                            Ctrm: 5A


                                                   DECLARATION OF JEFFREY J. LYONS IN SUPPORT OF GCP’S MOTIONS FOR SUMMARY JUDGMENT
                                                                                                         CASE NO.: 2:19-CV-07475-MWF-RAO
                          Case 2:19-cv-07475-MWF-RAO Document 137 Filed 11/17/21 Page 2 of 4 Page ID #:5849



                              1          I, Jeffrey J. Lyons, hereby declare and state:
                              2          1.     I am an associate at Baker & Hostetler LLP, counsel to GCP Applied
                              3   Technologies, Inc. (“GCP”).          I make this declaration in support of GCP’s
                              4   concurrently filed (1) Motion for Summary Judgment of No Anticipation and No
                              5   Obviousness of Dependent Claims, (2) Motion for Summary Judgment of No
                              6   Inequitable Conduct, and (3) Motion for Summary Judgment of Literal Infringement
                              7   by Certain Accused Products.
                              8          2.     I am a member in good standing of the State Bar of Delaware and am
                              9   admitted to practice before this Court pro hac vice.
                             10          3.     Attached as Exhibit A is a true and correct copy of U.S. Patent No.
                             11   8,713,879 (“the ’879 patent”).
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                             12          4.     Attached as Exhibit B is a true and correct copy of AVM’s Final
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                             13   Invalidity Contentions, dated September 1, 2021, produced by AVM in this
                             14   proceeding.
                             15          5.     Attached as Exhibit C is a true and correct copy of the Opening Expert
                             16   Report of Philip D. Dregger, dated September 22, 2021, produced by AVM in this
                             17   proceeding.
                             18          6.     Attached as Exhibit D is a true and correct copy of the transcript of the
                             19   November 2, 2021 deposition of Philip D. Dregger.
                             20          7.     Attached as Exhibit E is a true and correct copy U.S. Patent No.
                             21   5,496,615 to Bartlett (“Bartlett ’615”).
                             22          8.     Attached as Exhibit F is a true and correct copy of U.S. Patent No.
                             23   6,500,520 to Wiercinski (“Wiercinski ’520”).
                             24          9.     Attached as Exhibit G is a true and correct copy of excerpts from the
                             25   transcript of the April 20, 2021 deposition of Robert Wiercinski.
                             26          10. Attached as Exhibit H is a true and correct copy of the Examiner Signed
                             27   IDS from the ’879 Prosecution History, dated December 3, 2013.
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                                                     DECLARATION OF JEFFREY J. LYONS IN SUPPORT OF GCP’S MOTIONS FOR SUMMARY JUDGMENT
                                                                                                          Case No.: 2:19-cv-07475-MWF-RAO
                          Case 2:19-cv-07475-MWF-RAO Document 137 Filed 11/17/21 Page 3 of 4 Page ID #:5850



                              1          11. Attached as Exhibit I is a true and correct copy of U.S. Patent No.
                              2   6,746,764 to Anspach (“Anspach ’764”).
                              3          12. Attached as Exhibit J is a true and correct copy of the ’879 patent Notice
                              4   of Allowance, dated February 13, 2014.
                              5          13. Attached as Exhibit K is a true and correct copy of the transcript of the
                              6   November 3, 2021 expert deposition of Robert Wiercinski.
                              7          14. Attached as Exhibit L is a true and correct copy of the International
                              8   Search Report, dated November 18, 2010.
                              9          15. Attached as Exhibit M is a true and correct copy of the Rebuttal Expert
                             10   Report of Robert Wiercinski on Validity, dated October 20, 2021.
                             11          16. Attached as Exhibit N is a true and correct copy of U.S. Patent No.
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                             12   7,776,432 to Serwin (“Serwin”).
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                             13          17. Attached as Exhibit O is a true and correct copy of U.S. Patent No.
                             14   6,933,007 to Fensel (“Fensel”).
                             15          18. Attached as Exhibit P is a true and correct copy of the City of Los
                             16   Angeles Department of Building and Safety Research Report, RR 26044, regarding
                             17   AUSSIE SKIN® 550, 555, 558, 560, and 565, dated April 1, 2019, and produced by
                             18   AVM in this proceeding and bates numbered AVMI90100028731-28733.
                             19          19. Attached as Exhibit Q is a true and correct copy of GCP’s Initial
                             20   Infringement Contentions, dated July 20, 2020.
                             21          20. Attached as Exhibit R is a true and correct copy of the City of Los
                             22   Angeles Department of Building and Safety Research Report, RR 26044, regarding
                             23   AUSSIE SKIN® 550G, 555G, 558G, 560G, and 565G, dated December 1, 2019, and
                             24   produced by AVM in this proceeding and bates numbered AVMI90100011063-
                             25   11065 (highlighting in original).
                             26          21. Attached as Exhibit S is a true and correct copy of GCP’s Final
                             27   Infringement Contentions, dated August 18, 2021.
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                                                    DECLARATION OF JEFFREY J. LYONS IN SUPPORT OF GCP’S MOTIONS FOR SUMMARY JUDGMENT
                                                                                                          CASE NO.: 2:19-CV-07475-MWF-RAO
                          Case 2:19-cv-07475-MWF-RAO Document 137 Filed 11/17/21 Page 4 of 4 Page ID #:5851



                              1          22. Attached as Exhibit T is a true and correct copy of pages 1-50 and 57 of
                              2   the Expert Report of Douglas R. Stieve Regarding Infringement and Exhibits 11, 13,
                              3   21, 33, and 36 thereto, dated September 22, 2021.
                              4          23. Attached as Exhibit U is a true and correct copy of excerpts from
                              5   Defendant’s Objections and Responses to GCP’s First Interrogatories to AVM
                              6   Industries, Inc., dated March 22, 2021, produced by AVM in this proceeding.
                              7          24. Attached as Exhibit V is a true and correct copy of excerpts from
                              8   Defendant’s Objections and Responses to GCP’s Second Set of Interrogatories to
                              9   AVM Industries, Inc., dated April 30, 2021, produced by AVM in this proceeding.
                             10          25. Attached as Exhibit W is a true and correct copy of Defendant’s
                             11   Response to GCP’s Second Set of Requests for Production of Documents (No. 59),
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                             12   dated April 13, 2021, produced by AVM in this proceeding.
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                             13          26. Attached as Exhibit X is a true and correct copy of the Expert Rebuttal
                             14   Report of Philip Dregger, dated October 20, 2021, produced by AVM in this
                             15   proceeding.
                             16          27. Attached as Exhibit Y is a true and correct copy of scanning electron
                             17   microscope test results performed on various AUSSIE SKIN® products, bates
                             18   numbered GCP00072687-72695.
                             19          28. Attached as Exhibit Z is a true and correct copy of excerpts from the
                             20   transcript of the October 27, 2021 deposition of Douglas R. Stieve.
                             21         I declare under penalty of perjury under the laws of the United States that the
                             22   foregoing is true and correct. Executed on November 17, 2021, at Wilmington,
                             23   Delaware.
                             24
                             25                                                            /s/ Jeffrey J. Lyons
                                                                                          Jeffrey J. Lyons (pro hac vice)
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                                                    DECLARATION OF JEFFREY J. LYONS IN SUPPORT OF GCP’S MOTIONS FOR SUMMARY JUDGMENT
                                                                                                          CASE NO.: 2:19-CV-07475-MWF-RAO
